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9                             UNITED STATES DISTRICT COURT
10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
11    UNITED STATES OF AMERICA ex                Case No. 2:16-cv-08697-FMO-PVCx
      rel. BENJAMIN POEHLING,
12
                      Plaintiff,                 [PROPOSED] ORDER GRANTING
13                                               PLAINTIFF’S MOTION FOR
            v.                                   REVIEW OF SPECIAL MASTER’S
14                                               REPORT AND RECOMMENDATION
      UNITEDHEALTH GROUP, INC. et
15    al.,
16                    Defendants.
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18
            Upon consideration of Plaintiff United States of America’s Motion for Review of
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      Special Master’s Report and Recommendation; Defendants’ opposition thereto; all of the
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      papers submitted and arguments made in support of and in opposition to the motion; and
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      the files and records in this case, and good cause shown:
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            IT IS HEREBY ORDERED that Plaintiff’s motion is granted. The Court declines
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      to adopt the Special Master’s Report and Recommendation (ECF No. 631) to grant
24
      summary judgment to United. The Court further declines to adopt any factual findings
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      made in the Special Master’s Report and Recommendation.
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            IT IS FURTHER ORDERED that, upon de novo review of Defendants’ Motion
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      for Summary Judgment (ECF No. 615), Defendants’ motion is denied.
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                                      ID #:28756



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3     Dated: ________________             ____________________________
4                                         HON. FERNANDO M. OLGUIN
                                          U.S. District Court Judge
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